                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

     HOLLIE ROUGEAUX-LUNA, on behalf                 )
     of herself and all others similarly situated,   )
                                                     )   Case No. 3:18-cv-321
                           Plaintiffs,               )
                                                     )
            v.                                       )   CLASS AND COLLECTIVE
                                                     )   ACTION COMPLAINT
     ALLY FINANCIAL, INC.,                           )
                                                     )
                 Defendant.                          )   JURY TRIAL DEMANDED
                                                     )

          Plaintiff, Hollie Rougeaux-Luna (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through her undersigned counsel, brings this collective action under the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq., class action under Federal Rule of

Civil Procedure 23 and the North Carolina Wage and Hour Act (“NCWHA”), N.C. Gen. Stat. §

95-25.1 et seq., and individual action under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e et seq., as amended (“Title VII”), against Defendant Ally Financial, Inc. (“Defendant” or

“Ally”), its subsidiaries and affiliates, and alleges upon personal belief as to herself and her own

acts, and as for all other matters, upon information and belief, and based upon the investigation

made by counsel, as follows:

                                         NATURE OF ACTION

1.        Plaintiff brings this action to redress Defendant’s violation of the FLSA by knowingly

suffering or permitting Plaintiff and other similarly situated workers to work in excess of 40 hours

per week without properly compensating them at an overtime rate for those additional hours.

Plaintiff also brings this action to redress Defendant’s violation of the NCWHA by knowingly and

intentionally failing to pay Plaintiff and putative class members all wages accruing to them on




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their regular paydays. Plaintiff and similarly situated workers worked for Defendant as hourly-

paid Project Managers, Change Managers, and other similar positions, regardless of their precise

titles.

2.        In addition, Plaintiff brings this action to redress Defendant’s violation of Title VII by

discriminating against her because of her sex (female) and subjecting her to retaliation.

                                             PARTIES

3.        Representative Plaintiff Hollie Rougeaux-Luna (“Plaintiff”) is an adult female citizen and

resident of North Carolina who worked for Defendant in Charlotte, North Carolina as an hourly-

paid Change Manager from on or about August 14, 2017 through November 20, 2017.

4.        Defendant is a corporation existing under the laws of the State of Delaware with its

principal place of business located in Detroit, Michigan. Defendant is registered to conduct

business in North Carolina and has business locations throughout the United States, including

Charlotte, North Carolina. Defendant provides financial services including auto financing,

corporate financing, insurance, mortgages, stock brokerage, and online banking services to

customers throughout this District and nationwide.

5.        At all times herein mentioned, Defendant was an employer of Plaintiff within the meaning

of the FLSA, 29 U.S.C. § 203(d), the NCWHA, and Title VII. At all relevant times, Defendant

maintained control over Plaintiff and similarly situated members of the proposed collective action,

including compensation and other employment practices that applied to them.

6.        Defendant is covered by the provisions of the FLSA because it is an “enterprise engaged

in commerce” under the FLSA, 29 U.S.C. § 203(s)(1)(A), because it has employees engaged in

commerce and revenue that exceeds $500,000.00.




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                                 JURISDICTION AND VENUE

7.     This Court has subject-matter jurisdiction over this action pursuant to 29 U.S.C. § 216(b),

which provides that suit under the FLSA “may be maintained against any employer … in any

Federal or State court of competent jurisdiction.” The Representative Plaintiff has signed an opt-

in consent form to join this lawsuit, attached hereto as Exhibit A.

8.     This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §§ 1331 and 1343

because Plaintiff’s claims arise under the FLSA and Title VII.

9.     This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. § 1367.

10.    Venue is proper in this judicial District pursuant to 28 U.S.C. § 1391(b) and 42 U.S.C. §

2000e-5(f)(3), because Defendant conducts business within this District and the actions and

omissions giving rise to the claims pled in this Complaint occurred within this District.

11.    On or about March 22, 2018, Plaintiff filed a charge of discrimination with the Charlotte

District Office of the U.S. Equal Employment Opportunity Commission (“EEOC”), EEOC Charge

No. 430-2018-00616, alleging discrimination and retaliation based on her sex and/or gender

against Defendant, attached hereto as Exhibit B.

12.    Plaintiff’s EEOC charge was timely filed within one hundred eighty (180) days after the

alleged unlawful employment practices occurred, satisfying the requirement of 42 U.S.C. § 2000e-

5(e) with the EEOC.

13.    On or about March 23, 2018, the EEOC issued via mail a notice of Right to Sue to Plaintiff

in the matter of EEOC Charge No. 430-2018-00616, which was received within ninety (90) days

of the filing of this action by the Plaintiff. A copy of the notice of Right to Sue is attached hereto

as Exhibit C.




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14.    Plaintiff has complied with all jurisdiction requirements of Title VII before initiating this

proceeding.

                          TITLE VII INDIVIDUAL ALLEGATIONS

15.    On or about August 14, 2017, Plaintiff was hired to work as a Change Manager for

Defendant through CompuGroup Technologies, a staffing agency. As was the customary practice

within Defendant’s workforce, Plaintiff was initially hired under a temporary contract with the

option to convert to permanent full-time employment with Defendant at a future date.

16.    Plaintiff was interviewed and hired for the Change Manager position by Michael Gibeaut,

Defendant’s IT Director, who was also Plaintiff’s direct supervisor throughout her employment.

17.    Plaintiff was the only female project manager in Mr. Gibeaut’s group of about thirty

subordinates.

18.    Plaintiff successfully met her objectives and goals during the first few weeks of her

employment and received praise for her initiative in setting up a new methodology.

19.    Approximately a month into Plaintiff’s employment, Mr. Gibeaut’s demeanor toward

Plaintiff abruptly changed. He began to exclude her from vendor meetings, and once took her aside

into his office and stated, “You need to quit before I start to hate you.”

20.    On information and belief, Mr. Gibeaut’s began to retaliate against Plaintiff because he

was under the mistaken belief that Plaintiff, because she was female, was the source of a complaint

made to Human Resources that Mr. Gibeaut created a hostile work environment. Plaintiff observed

HR representatives meeting with Mr. Gibeaut in his office on multiple occasions.

21.    Mr. Gibeaut’s retaliatory behavior toward Plaintiff worsened, and on or about October 4,

2017, Mr. Gibeaut informed Plaintiff that her position was losing funding and that her termination

was imminent. Mr. Gibeaut refused to give her an end date for her assignment. Days later, Plaintiff




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received a notice through CareerBuilder.com that her position had been posted.

22.    Mr. Gibeaut treated Plaintiff differently than his male subordinates. He routinely excluded

her from important meetings and conference calls. He raised his voice at her and criticized her in

front of her colleagues and shadowed her on conference calls with vendors. He once interrupted a

meeting to yell at her that she “should not be leading meetings,” embarrassing her in front of

colleagues. He assigned tasks to other men in the office that should have been part of Plaintiff’s

job as a Change Manager.

23.    Mr. Gibeaut also tasked Plaintiff with training four workers who would replace her, all of

whom were men.

24.    On November 20, 2017, without advance notice, Mr. Gibeaut informed Plaintiff that her

employment was terminated.

25.    Plaintiff contends that Defendant’s alleged reasons for terminating her employment were

a pretext for illegal discrimination and retaliation.

26.    On or about November 28, 2017, a former co-worker informed Plaintiff that Mr. Gibeaut

was forced to resign. Plaintiff immediately filed a complaint with Defendant’s whistleblower

hotline concerning the gender discrimination and retaliation she experienced under Mr. Gibeaut’s

supervision. Her complaint was investigated and substantiated by Defendant.

27.    Throughout Plaintiff’s employment with Defendant, Plaintiff was performing the duties of

her position satisfactorily and meeting or exceeding Defendant’s legitimate expectations, and

Plaintiff did not suffer an adverse employment action until after an unidentified female employee

complained of gender and/or sex-based discrimination to Defendant.

28.    Defendant is vicariously liable for the acts of its employees, officers, and agents thereof,

including but not limited to Michael Gibeaut.




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                       FLSA COLLECTIVE ACTION ALLEGATIONS

29.    Plaintiff brings this collective action on behalf of herself and all others similarly situated

pursuant to the FLSA, 29 U.S.C. § 216(b), to recover unpaid wages, unpaid overtime

compensation, liquidated damages, statutory penalties, prejudgment interest, attorneys’ fees and

costs, and other damages related to Defendant’s violation of the FLSA.

30.    Plaintiff brings this action under the FLSA on behalf of the following collective class of

similarly situated individuals:

       All individuals who performed work for Defendant as hourly-paid Project
       Managers, Change Managers, or any other similarly titled position, during the
       applicable statute of limitations period who were not paid overtime compensation
       at 1½ times their regular hourly rate for time worked in excess of forty (40) hours
       in given workweeks (the “FLSA Collective”).

31.    Plaintiff is a member of the FLSA Collective she seeks to represent because she worked as

a Change Manager during the relevant period and was routinely required, suffered or permitted to

work more than 40 hours per week without proper overtime compensation. Namely, Plaintiff was

not paid compensation for overtime wages earned at a rate of one and one-half times her regular

rate, but was instead paid a straight hourly rate for all time worked and recorded, including time

worked over 40 hours a week.

32.    Although Plaintiff and the members of the FLSA Collective may have worked in different

locations throughout the relevant period, this action may be properly maintained as a collective

action because Plaintiff and members of the FLSA Collective were similarly situated. Specifically:

       a.      Defendant dictated and controlled all aspects of Plaintiff’s work and the
               work of the members of the FLSA Collective, including their assignments,
               work schedules, and timekeeping practices applicable to them;

       b.      Plaintiff and members of the FLSA Collective were interviewed by
               Defendant, were subject to hiring criteria established by Defendant, and
               were required to complete Defendant’s hiring process, including
               completion of a background check, drug test, prior employment



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               verification, and Defendant’s on-boarding forms;

       c.      Plaintiff and members of the FLSA Collective reported to an Ally
               supervisor, and were provided Ally work spaces, company-issued laptops,
               and Ally e-mail addresses;

       d.      Defendant required Plaintiff and the members of the FLSA Collective to
               follow uniform company policies, practices and directives;

       e.      Plaintiff and members of the FLSA Collective were subject to the same
               hourly compensation scheme, which was dictated, controlled and ratified
               by Defendant;

       f.      Plaintiff and members of the FLSA Collective worked as project managers
               and did not perform in the role of computer systems analysts, computer
               programmers, software engineers, or other computer employees whose
               primary duty consists of (1) the application of systems analysis techniques
               and procedures, including consulting with users, to determine hardware,
               software or system functional specifications; (2) the design, development,
               documentation, analysis, creation, testing or modification of computer
               systems or programs, including prototypes, based on and related to user or
               system design specifications; (3) the design, documentation, testing,
               reaction or modification of computer programs related to machine operating
               systems; or (4) a combination of the aforementioned duties, the
               performance of which requires the same level of skills (see 29 U.S.C. §
               213(a)(17));

       g.      Plaintiff and members of the FLSA Collective worked in excess of 40 hours
               per week;

       h.      Regardless of their work location, Defendant did not pay Plaintiff and
               members of the FLSA Collective an overtime premium of one and one-half
               times their regular rate for all time worked in excess of 40 hours per week;

       i.      Defendant maintained common timekeeping systems and policies with
               respect to Plaintiff and members of the FLSA Collective, regardless of their
               work location.

33.    Defendant encouraged, required, suffered, and/or permitted Plaintiff and members of the

FLSA Collective to work, and they routinely did work, in excess of 40 hours in given workweeks

without pay for overtime wages earned at a rate of one and one-half times their regular rate.

34.    Defendant failed to create or maintain accurate records of all of the hours worked by




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Plaintiff and members of the FLSA Collective.

35.    Defendant was aware, or should have been aware, that Plaintiff and similarly situated

workers were not subject to an exemption from the payment of overtime compensation.

36.    Defendant knew or should have known that Plaintiff and members of the FLSA Collective

performed work that required additional wages and overtime compensation to be paid. Namely,

Defendant withheld the legally required half-time premium for time worked by Plaintiff and

members of the FLSA Collective in excess of 40 hours per week. Defendant operated under a

scheme to deprive Plaintiff and members of the FLSA Collective of wages and overtime

compensation.

37.    Defendant’s conduct, as alleged herein, reduced Defendant’s labor and payroll costs.

38.    Defendant’s conduct, as alleged herein, constitutes a willful violation of the FLSA within

the meaning of 29 U.S.C. § 255. As a result of Defendant’s improper and willful failure to pay

Plaintiff and similarly situated workers in accordance with the requirements of the FLSA, Plaintiff

and members of the FLSA Collective suffered lost wages and other damages.

39.    Defendant is liable under the FLSA for failing to properly compensate Plaintiff and

members of the FLSA Collective. Plaintiff requests that the Court authorize notice to the members

of the FLSA Collective to inform them of the pendency of this action and their right to “opt-in” to

this lawsuit pursuant to 29 U.S.C. § 216(b), for the purpose of seeking unpaid wages, unpaid

overtime compensation, liquidated damages under the FLSA, and the other relief requested herein.

40.    Plaintiff estimates that there are well in excess of one hundred (100) similarly situated

current and former members of the FLSA Collective nationwide who would benefit from the

issuance of court-supervised notice and an opportunity to join the present action if they choose.

41.    The precise number of members of the FLSA Collective can be easily ascertained using




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Defendant’s billing, timekeeping, and payroll records and other records. Given the composition

and size of the FLSA Collective, members may be informed of the pendency of this action directly

via U.S. mail, e-mail, and otherwise.

                              NCWHA CLASS ALLEGATIONS

42.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”), Plaintiff brings

claims for relief on her own behalf and as a representative a class under the NCWHA, N.C. Gen.

Stat. § 95-25.1 et seq., to recover unpaid wages, statutory penalties, prejudgment interest,

attorneys’ fees and costs, and other damages related to Defendant’s violation of the NCWHA.

43.    Plaintiff seeks class certification under Rule 23 for the following class under the NCWHA:

       All individuals who performed work for Defendant as hourly-paid Project
       Managers, Change Managers, or any other similarly titled position, in the state of
       North Carolina during the applicable statute of limitations period who were not
       timely paid all earned wages on their regular paydays (the “NCWHA Class”).

44.    This action is properly maintained as a class action under Rule 23(a) and Rule 23(b)

because:

       a.      The NCWHA Class is so numerous that joinder of all members is
               impracticable;

       b.      There are questions of law or fact that are common to the NCWHA Class;

       c.      The claims or defenses of the Plaintiff are typical of the claims or defenses
               of the NCWHA Class; and,

       d.      The Plaintiff will fairly and adequately protect the interests of the NCWHA
               Class.

                                           Numerosity

45.    Upon information and belief, Plaintiff estimates that there are at least (40) putative class

members in the NCWHA Class. The precise number of NCWHA Class members can be easily

ascertained using Defendant’s personnel, time, and payroll records and other records.




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                                         Commonality

46.      There are numerous and substantial questions of law and fact common to the NCWHA

Class members, including, without limitation, the following:

         a.     Whether Defendant failed to pay the NCWHA Class all earned accrued
                wages on their regular paydays;

         b.     Whether Defendant maintained common timekeeping and payroll systems
                and policies with respect to the NCWHA Class, regardless of their work
                location;

         c.     Whether Defendant failed to keep true and accurate records of the amount
                of time the NCWHA Class actually worked;

         d.     Whether Defendant willfully or recklessly disregarded the law in
                implementing its wage and hour policies applicable to the NCWHA Class;
                and,

         e.     The nature and extent of the class-wide injury and the appropriate measure
                of damages for the NCWHA Class.

47.      Plaintiff anticipates that Defendant will raise defenses that are common to the NCWHA

Class.

                                           Adequacy

48.      Plaintiff will fairly and adequately protect the interests of all members of the NCWHA

Class, and there are no known conflicts of interest between Plaintiff and NCWHA Class members.

Plaintiff, moreover, has retained experienced counsel who are competent in the prosecution of

complex litigation and who have extensive experience acting as class counsel specifically in wage

and hour litigation.

                                           Typicality

49.      The claims asserted by the Plaintiff are typical of the NCWHA Class members she seeks

to represent. The Plaintiff has the same interests and suffers as a result of the same unlawful

practices as the NCWHA Class members.



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50.    Upon information and belief, there are no other NCWHA Class members who have an

interest individually controlling the prosecution of his or her individual claims, especially in

light of the relatively small value of each claim and the difficulties involved in bringing

individual litigation against one’s employer. However, if any such class member should

become known, he or she can opt out of this action pursuant to Rule 23.

          Common Questions of Law and Fact Predominate and a Class Action is
                Superior to Joinder of Claims or Individual Lawsuits

51.    The common questions identified above predominate over any individual issues because

Defendant’s conduct and the impact of its policies and practices affected NCWHA Class members

in the same manner: they were suffered and/or permitted to work without receiving all earned

wages on their regular paydays.

52.    A class action is superior to other available means for the fair and efficient adjudication of

this controversy because individual joinder of the parties is impracticable. Class action treatment

will allow a large number of similarly situated persons to prosecute their common claims in a

single forum simultaneously, efficiently, and without the unnecessary duplication of effort and

expense if these claims were brought individually. Moreover, as the damages suffered by each

class member are relatively small in the sense pertinent to class action analysis, the expense and

burden of individual litigation would make it difficult for individual class members to vindicate

their claims.

53.    On the other hand, important public interests will be served by addressing the matter as

a class action. The cost to the court system and the public for the adjudication of individual

litigation and claims would be substantial and substantially more than if claims are treated as a

class action. Prosecution of separate actions by individual class members would create a risk of

inconsistent and varying adjudications, establish incompatible standards of conduct for


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Defendant, and/or substantially impair or impede the ability class members to protect their

interests. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can and is empowered to, fashion methods to efficiently

manage this action as a class action.

                                             COUNT I

      COLLECTIVE ACTION VIOLATION OF THE FAIR LABOR STANDARDS ACT

54.       Each of the preceding paragraphs is incorporated by reference as though fully set forth

herein.

55.       Defendant operates an “enterprise” as defined by Section 3(r)(1) of the FLSA, 29 U.S.C. §

203(r)(1), and is engaged in commerce or in the production of goods for commerce within the

meaning of Section 3(s)(1)(A), 29 U.S.C. § 203(s)(1)(A).

56.       Plaintiff and the members of the FLSA Collective are similarly situated employees within

the meaning of the FLSA, 29 U.S.C. § 216(b).

57.       Section 207(a)(1) of the FLSA states that an employee must be paid an overtime rate equal

to at least one and one-half times the employee’s regular rate of pay for all hours worked in excess

of 40 hours per week.

58.       Throughout the relevant period, Defendant violated the FLSA by routinely suffering or

permitting Plaintiff and members of the FLSA Collective to work overtime hours without paying

them proper overtime compensation.

59.       Throughout the relevant period, Plaintiff and members of the FLSA Collective worked in

excess of 40 hours per week, but were not paid an overtime premium of one and one-half times

their regular hourly rate for those additional hours.

60.       Plaintiff and members of the FLSA Collective are not properly classified as exempt.




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61.       Defendant’s violations of the FLSA, as described herein, have been willful and intentional.

Defendant failed to make a good faith effort to comply with the FLSA with respect to the

compensation of Plaintiff and members of the FLSA Collective.

62.       Because Defendant’s violations of the FLSA have been willful, a three-year statute of

limitations applies, pursuant to 29 U.S.C. § 255.

63.       Plaintiff and members of the FLSA Collective have been harmed as a direct and proximate

result of Defendant’s unlawful conduct because they have been deprived of overtime wages owed

for time worked in excess of 40 hours per week from which Defendant derived a direct and

substantial benefit.

64.       As a result of the unlawful acts of Defendant, Plaintiff and members of the FLSA Collective

have been deprived of overtime compensation and other wages in amounts to be determined at

trial, and are entitled to recovery of such amounts, liquidated damages, prejudgment interest,

attorneys’ fees, costs and other compensation pursuant to 29 U.S.C. § 216(b).

                                             COUNT II

CLASS ACTION VIOLATION OF THE NORTH CAROLINA WAGE AND HOUR ACT

65.       Each of the preceding paragraphs is incorporated by reference as though fully set forth

herein.

66.       Plaintiff is a member of the NCWHA Class, which meets the requirements for certification

and maintenance of a class action pursuant to Rule 23.

67.       It is unlawful under North Carolina law for an employer to require or permit an employee

to work without paying compensation for all hours worked in violation of N.C. Gen. Stat. § 95-

25.6.

68.       Defendant failed to pay Plaintiff and the NCWHA Class members all accrued wages on




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the employees’ regular paydays for all hours worked.

69.       Defendant’s conduct constitutes a willful violation of the NCWHA, N.C. Gen. Stat. § 95-

25.1 et seq., including but not limited to N.C. Gen. Stat. § 95-25.6 and § 95-25.7.

70.       Plaintiff and the NCWHA Class members have sustained losses in compensation as a

proximate result of Defendant’s violations of the NCWHA. Accordingly, Plaintiff, on behalf of

herself and the NCWHA Class members, seeks damages in the amount of their unpaid earned

compensation, plus liquidated damages and interest at the legal rate set for in N.C. Gen. Stat. § 95-

25.22(a) and (a)(1).

71.       Plaintiff, on behalf of herself and NCWHA Class members, seeks recovery of her

attorneys’ fees and costs, as provided by the NCWHA, N.C. Gen. Stat. § 95-25.22.

                                             COUNT III

            INDIVIDUAL VIOLATION OF TITLE VII (SEX DISCRIMINATION)

72.       Each of the preceding paragraphs is incorporated by reference as though fully set forth

herein.

73.       Plaintiff has satisfied all procedural and administrative requirements of Title VII of the

Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq., as amended (“Title VII”), by filing a timely

Charge of Discrimination with the EEOC, receiving a Right to Sue letter from the EEOC and filing

a Complaint within 90 days of receipt of the Right to Sue letter.

74.       Plaintiff is female.

75.       Defendant has discriminated against Plaintiff in violation of Title VII by subjecting

Plaintiff to different treatment on the basis of her sex and/or gender.

76.       Plaintiff has suffered disparate treatment as a result of Defendant’s wrongful conduct.

77.       Defendant has discriminated against Plaintiff by treating her differently from, and less




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preferably than, similarly-situated male individuals, and by subjecting Plaintiff to discriminatory

harassment and interference with her ability to perform her job, resulting in Plaintiff’s termination,

in violation of Title VII.

78.       Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.

79.       Defendant is liable for its agents and supervisory employees, due to its failure to address

issues of discrimination and harassment of which it was aware.

80.       As a result of Defendant’s conduct as alleged in this complaint, Plaintiff has suffered and

continues to suffer harm, including but not limited to lost earnings, lost benefits, costs and

expenses, and other financial loss, as well as humiliation, inconvenience, embarrassment,

emotional and physical distress, and mental anguish.

81.       By reason of Defendant’s discrimination, Plaintiff is entitled to all remedies available for

violations of Title VII, including an award of punitive damages.

82.       Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

                                             COUNT IV

                 INDIVIDUAL VIOLATION OF TITLE VII (RETALIATION)

83.       Each of the preceding paragraphs is incorporated by reference as though fully set forth

herein.

84.       Defendant retaliated against Plaintiff by terminating her employment based on the

erroneous belief that she had engaged in protected activity and complained about violations of

Title VII.

85.       Plaintiff had no substantiated performance issues, performed the duties of her position

satisfactorily and met or exceeded Defendant’s legitimate expectations, and Plaintiff did not suffer




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an adverse employment action until after Defendant received a complaint of gender and/or sex-

based discrimination perpetrated by Plaintiff’s direct supervisor.

86.    Defendant’s conduct has been intentional, deliberate, willful, malicious, reckless, and

conducted in callous disregard of the rights of Plaintiff, entitling Plaintiff to punitive damages.

87.    Defendant is liable for its agents and supervisory employees, due to its failure to address

issues of discrimination and harassment of which it was aware.

88.    As a result of Defendant’s conduct as alleged in this complaint, Plaintiff has suffered and

continues to suffer harm, including but not limited to lost earnings, lost benefits, costs and

expenses, and other financial loss, as well as humiliation, inconvenience, embarrassment,

emotional and physical distress, and mental anguish.

89.    By reason of Defendant’s discrimination, Plaintiff is entitled to all remedies available for

violations of Title VII, including an award of punitive damages.

90.    Attorneys’ fees should be awarded under 42 U.S.C. § 2000e-5(k).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Hollie Rougeaux-Luna, individually and on behalf of all others

similarly situated, by and through her attorneys, demands judgment against the Defendant and in

favor of Plaintiff and all others similarly situated, for a sum that will properly, adequately and

completely compensate them for the nature, extent and duration of their damages, the costs of this

action and as follows:

       a.      Certify a collective action of the FLSA Collective under Count I and
               designate Plaintiff as the representative of all those employees similarly
               situated;

       b.      Order Defendant to furnish to counsel a list of all names, telephone
               numbers, email addresses and current (or best known) home addresses of
               the members of the proposed FLSA Collective;




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c.     Authorize Plaintiff’s counsel to issue notice at the earliest possible time
       informing the members of the FLSA Collective that this action has been
       filed, of the nature of the action, and of their right to opt-in to this lawsuit if
       they were deprived of proper overtime compensation, as required by the
       FLSA;

d.     Certify a class action of the NCWHA Class under Count II;

e.     Appoint Stephan Zouras, LLP and Gibbons Leis as counsel for the NCWHA
       Class under Rule 23(g);

f.     Declare and find that Defendant committed one or more of the following
       acts:

       i.      Violated overtime provisions of the FLSA by failing to pay proper
               overtime wages to Plaintiff and similarly situated persons who opt-
               in to this action;

       ii.     Violated payday provisions of the NCWHA by failing to timely pay
               all earned wages to Plaintiff and NCWHA Class members on their
               regular paydays and upon separation of employment;

       iii.    Violated Title VII with regard to Defendant’s discrimination against
               Plaintiff on the basis of her sex and/or gender (female).

       iv.     Violated Title VII with regard to Defendant’s retaliation against
               Plaintiff; and

       v.      Willfully violated provisions of the FLSA, NCWHA, and Title VII.

g.     Award compensatory damages in an amount according to proof under the
       FLSA, NCWHA, and Title VII;

h.     Award Plaintiff and all those similarly situated pre- and post-judgment
       interest at the statutory rate as provided by the NCWHA, N.C. Gen. Stat. §
       95-25.22(a), and pursuant to the FLSA;

i.     Award liquidated damages in an amount equal to the amount of unpaid
       compensation found due under the FLSA and NCWHA;

j.     Award punitive damages under Title VII in an amount in the discretion of
       the jury;

k.     Award all costs and reasonable attorneys’ fees incurred prosecuting this
       claim under the FLSA, NCWHA, and Title VII;




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      l.     Grant leave to amend to add claims under applicable state and federal laws;

      m.     Grant leave to add additional plaintiffs by motion, the filing of written
             consent forms, or any other method approved by the Court; and

      n.     For such further relief as the Court deems just and equitable.

                                   JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.


Dated: June 20, 2018                         Respectfully Submitted,


                                             /s/ Philip J. Gibbons, Jr.

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